                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      No. 2:14-CR-006
                                              )
JORDAN JOHNSON                                )

                            MEMORANDUM AND ORDER

              The defendant pled guilty to conspiring to make and possess counterfeit

Federal Reserve notes. He will be sentenced on November 6, 2014. The United States

Probation Office has prepared and disclosed a Presentence Investigation Report (“PSR”)

[docs. 51, 134]. The defendant has filed objections to paragraphs 15 and 37 through 41

of the PSR. The objections to paragraphs 37 through 41 have been resolved in the

defendant’s favor by the probation office.

              As to the remaining objection, the defendant states, “Paragraph 15

describes a [July 11, 2013] traffic stop in Pigeon Forge, TN, where Mr. Johnson was

allegedly the driver of a Ford Crown Victoria. Mr. Johnson denies that he was ever

involved in such a traffic stop.”

              In response, attached to the PSR addendum is a traffic citation from the

Pigeon Forge Police Department. That document shows that a “Jordan Johnson,” with

the same home address and date of birth listed in the PSR, was indeed stopped for

speeding in Pigeon Forge on July 11, 2013. The citation identifies the vehicle as a




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Mercury Grand Marquis (as opposed to a Ford Crown Victoria as stated in the PSR), but

otherwise confirms that a traffic stop did in fact take place.

              In any event, paragraph 15 does not contain issues that the court intends to

consider at sentencing. The defendant’s objection is therefore moot. See Fed. R. Crim.

P. 32(i)(3)(B) (district court need not rule on an objection that will not affect sentencing).

              For these reasons, the defendant’s objection to paragraph 15 of his PSR is

OVERRULED AS MOOT. Sentencing remains set for November 6, 2014, at 10:00

a.m. in Greeneville.

              IT IS SO ORDERED.

                                                          ENTER:



                                                                 s/ Leon Jordan
                                                           United States District Judge




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